                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
_______________________________________
                                        )
UNITED STATES OF AMERICA                )  Docket No. 5:15-cr-69-RLV
                                        )
            v.                          )
                                        )
(3) ADAM HOUSTON STOKES                 )  ORDER
_______________________________________ )



       This matter is before the Court on the Motion of the United States of America to dismiss

the charges against Defendant Adam Houston Stokes in the Bill of Indictment in the above-

captioned case, because he has entered a guilty plea to the bill of information in the related case of

5:15-cr-78-RLV.

       It is hereby ordered that the motion be GRANTED and the charges against Defendant

Adam Houston Stokes in the above-captioned Bill of Indictment be dismissed without prejudice.


 Signed: January 13, 2016




    Case 5:15-cr-00069-KDB-DCK              Document 33        Filed 01/13/16      Page 1 of 1
